                Case 5:21-mj-70620-MAG Document 25 Filed 01/20/22 Page 1 of 3




 1 STEPHANIE M. HINDS (CABN 154284)
   United States Attorney
 2
   THOMAS A. COLTHURST (CABN 99493)
 3 Chief, Criminal Division

 4 JEFFREY A. BACKHUS (CABN 200177)
   Assistant United States Attorney
 5
          150 Almaden Boulevard, Suite 900
 6        San Jose, California 95113
          Telephone: (408) 535-5080
 7        FAX: (408) 535-5066
          jeffrey.backhus@usdoj.gov
 8
   Attorneys for United States of America
 9
                                   UNITED STATES DISTRICT COURT
10
                                 NORTHERN DISTRICT OF CALIFORNIA
11
                                          SAN JOSE DIVISION
12

13   UNITED STATES OF AMERICA,                         )   CASE NO. CR 21-mj-70620-MAG
                                                       )
14            Plaintiff,                               )   STIPULATION AND [PROPOSED] ORDER AS TO
                                                       )   WAIVER OF TIME AND TO CONTINUE
15       v.                                            )   ARRAIGNMENT
                                                       )
16   DANIEL BARILI,                                    )
                                                       )
17            Defendant.                               )
                                                       )
18
19            The United States, by and through its counsel of record, and defendant, Daniel Barili by and
20 through his counsel of record (collectively, the “Parties”), agree and stipulate:

21            Whereas, a status conference is currently scheduled for January 25, 2022, at 2:00 p.m.
22            Whereas, the Parties agree and stipulate herein that time shall be waived under Rule 5.1(c) (time
23 for a preliminary hearing) and 18 U.S.C. § 3161(b) (requiring any information or indictment be filed

24 within 30 days of arrest). The Parties further agree that this waiver of time is necessary for the review of

25 discovery by the defense, for defense counsel to consult with his client, and to discuss possible pre-

26 indictment resolution of the case. The Parties also agree and acknowledge that a pre-indictment resolution

27 may not be reached.

28            Whereas, the Parties agree that the defendant has waived time for purposes of 18 U.S.C. § 3161(b)

     Stipulation and Proposed Order                   1
     CR 21-mj-70620-MAG
               Case 5:21-mj-70620-MAG Document 25 Filed 01/20/22 Page 2 of 3




 1 and Rule 5.1(c), specifically, that time be waived from January 25, 2022 to March 30, 2022, for purposes

 2 of 18 U.S.C. § 3161(b) and Rule 5.1(c), that the preliminary hearing need not occur until March 30, 2022,

 3 and that the government need not file an information or indictment until March 30, 2022.

 4

 5                                                      Respectfully submitted,

 6 DATED: January 20, 2022                              STEPHANIE M. HINDS
                                                        United States Attorney
 7

 8                                                      /s/ Jeffrey A. Backhus
                                                        JEFFREY A. BACKHUS
 9                                                      Assistant United States Attorney

10

11 DATED: January 20, 2022
                                                        /s/ Dejan Gantar
12                                                      DEJAN GANTAR
                                                        Assistant Federal Public Defender
13                                                      Attorney for Defendant
                                                        Daniel Barili
14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     Stipulation and Proposed Order                 2
     CR 21-mj-70620-MAG
               Case 5:21-mj-70620-MAG Document 25 Filed 01/20/22 Page 3 of 3




 1                                            [PROPOSED] ORDER

 2           Upon agreement and stipulation of the United States, the defendant Daniel Barili, and their

 3 respective counsel of record, and good cause appearing, IT IS HEREBY ORDERED that time be

 4 waived from January 25, 2022, to March 30, 2022, for purposes of 18 U.S.C. § 3161(b) and Rule 5.1(c),

 5 that the preliminary hearing need not occur until March 30, 2022, and that the government need not file

 6 an information or indictment until March 30, 2022. Additionally, the preliminary hearing or

 7 arraignment on the information or indictment should be continued from January 25, 2022, to March 30,
   2022, at 2:00 p.m.
 8

 9
     IT IS SO ORDERED.
10

11
     DATED:                                                      _____________________________
12                                                               HON. VIRGINIA K. DEMARCHI
                                                                 United States Magistrate Judge
13

14

15

16

17

18
19

20

21

22

23

24

25

26

27

28

     Stipulation and Proposed Order                  3
     CR 21-mj-70620-MAG
